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                                 Leida Vega
                               8
                               9                      UNITED STATES DISTRICT COURT
                                                                  FOR THE
                              10                    CENTRAL DISTRICT OF CALIFORNIA
                              11
                                  LEIDA VEGA,                           Case No.: 2:22-cv-05255
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                              12
    SAN FRANCISCO, CA 94104




                                                Plaintiff,              COMPLAINT FOR DAMAGES
     548 MARKET ST. #80594




                              13                                        FOR VIOLATIONS OF:
                                                         v.
                              14                                        FAIR DEBT COLLECTION
                                  CONTINENTAL CREDIT                    PRACTICES ACT, 15 U.S.C. §§ 1692
                              15  CONTROL,      INC.,                   ET SEQ.
                              16                                        DEMAND FOR JURY TRIAL
                                              Defendant.
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                               1                                         INTRODUCTION
                               2 1.    This is a case about a debt collector who reported information to the credit bureaus
                               3       that it knew was false.
                               4 2.    LEIDA VEGA (“Plaintiff”), by her attorney, brings this action for actual
                               5       damages, statutory damages, attorney fees, and costs, against CONTINENTAL
                               6       CREDIT CONTROL, INC. (“Defendant”) for violations of the Fair Debt
                               7       Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), which prohibits
                               8       debt collectors from engaging in abusive, deceptive and unfair practices.
                               9 3.    Plaintiff makes these allegations on information and belief, with the exception
                              10       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                              11       which Plaintiff alleges on personal knowledge.
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                              12 4.    While many violations are described below with specificity, this Complaint
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                              13       alleges violations of the statutes cited in their entirety.
                              14 5.    All violations by Defendant were knowing, willful, and intentional, and
                              15       Defendant did not maintain procedures reasonably adapted to avoid any such
                              16       violations.
                              17 6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              18       includes all agents, principles, managing agents, employees, officers, members,
                              19       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              20       representatives, and insurers of that Defendant named.
                              21                                 JURISDICTION AND VENUE
                              22 7.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                              23       that such actions may be brought and heard before “any appropriate United States
                              24       district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                              25       which grants this court original jurisdiction of all civil actions arising under the
                              26       laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
                              27       claims.
                              28 ///

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                               1 8.    This action arises out of Defendant’s violations of the Fair Debt Collection
                               2       Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
                               3 9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                               4       transactions occurred here, Plaintiff resides here, and Defendant transacts
                               5       business here.
                               6                                          FDCPA
                               7 10. In enacting the FDCPA, Congress found that:
                               8      a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                               9            collection practices by many debt collectors. Abusive debt collection
                              10            practices contribute to the number of personal bankruptcies, to marital
                              11            instability, to the loss of jobs, and to invasions of individual privacy.
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                              12      b.    Existing laws and procedures for redressing these injuries are inadequate to
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                              13            protect consumers.
                              14      c.    Means other than misrepresentation or other abusive debt collection
                              15            practices are available for the effective collection of debts.
                              16      d.    Abusive debt collection practices are carried on to a substantial extent in
                              17            interstate commerce and through means and instrumentalities of such
                              18            commerce. Even where abusive debt collection practices are purely intrastate
                              19            in character, they nevertheless directly affect interstate commerce.
                              20      e.    It is the purpose of this title to eliminate abusive debt collection practice by
                              21            debt collectors, to insure that those debt collectors who refrain from using
                              22            abusive debt collection practices are not competitively disadvantaged, and to
                              23            promote consistent State action to protect Consumers against debt collection
                              24            abuses. 15 U.S.C. § 1692.
                              25 11. The FDCPA is a strict liability statute. That is, a plaintiff need not prove intent
                              26       or knowledge on the part of the debt collector to establish liability. See
                              27       Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055, 1060-61 (9th Cir. 2011);
                              28       Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he FDCPA is a strict

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                               1       liability statute that makes debt collectors liable for violations that are not
                               2       knowing or intentional”).
                               3 12. To further protect consumers, claims under the FDCPA are to be judged
                               4       according to the “least sophisticated debtor” or “least sophisticated consumer”
                               5       standard. Gonzales at 1061. This standard is lower than the “reasonable
                               6       debtor” standard, and is specifically designed to protect consumers of below
                               7       average and sophistication or intelligence. Id. In addition, a plaintiff need not
                               8       even have actually been misled or deceived by the debt collector’s
                               9       communication. Rather, liability depends on whether the hypothetical least
                              10       sophisticated debtor – someone who is uninformed and naïve – would have
                              11       likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
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                              12       F.3d 1109, 1119 (9th Cir. 2014).
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                              13                                          PARTIES
                              14 13. Plaintiff is a natural person who resides in San Luis Opbisbo County,
                              15       California. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                              16       1692a(3).
                              17 14. Defendant      Continental    Credit     Control,   Inc.   (hereinafter    “Defendant
                              18       Continental”) is a California corporation operating from an address of 22 North
                              19       Milpas St., Santa Barbara, CA 93103, and is a “Debt Collector” as that term is
                              20       defined by 15 U.S.C. § 1692a(6) because it regularly uses the mails and/or the
                              21       telephone to collect, or attempt to collect, directly or indirectly, defaulted
                              22       consumer debts that it did not originate. It operates a nationwide debt collection
                              23       business and attempts to collect debts from consumers in virtually every state,
                              24       including consumers in the State of California. Its principal, if not sole, business
                              25       purpose is the collection of defaulted consumer debts originated by others, and,
                              26       in fact was acting as a debt collector as to the delinquent consumer debt it
                              27       attempted to collect from Plaintiff.
                              28 ///

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                               1                                FACTUAL ALLEGATIONS
                               2 15. Plaintiff is an individual residing in San Luis Opbisbo County, California.
                               3 16. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                               4       Defendant conducted and continues to conduct business in the State of
                               5       California.
                               6 17. Defendant’s business consists solely of the collection of delinquent consumer
                               7       debts.
                               8 18. Defendant is seeking to collect from Plaintiff for a personal debt related to medical
                               9       services.
                              10 19. On or about April 6, 2022, Plaintiff wrote to Defendant to let it know that she no
                              11       longer disputed the debt and asked that her be credit report be updated
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                              12       accordingly.
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                              13 20. On or about April 11, 2022, Plaintiff received notification from the U.S. Postal
                              14       Service that Defendant had received her letter.
                              15 21. On or about June 1, 2022, Defendant nevertheless reported to at least one credit
                              16       bureau that Plaintiff’s account was disputed.
                              17 22. On information and belief, Defendant has, in the two years prior to the filing of
                              18       this lawsuit, knowingly transmitted credit information that it knew to be
                              19       inaccurate to multiple credit bureaus on multiple occasions.
                              20                                   ACTUAL DAMAGES
                              21 23. Plaintiff has suffered actual damages as a result of these illegal collection and
                              22       intimidation tactics by this Defendant in the form of invasion of privacy, personal
                              23       embarrassment, loss of personal reputation, loss of productive time, nausea, and
                              24       feelings of fear, anxiety, hopelessness, anger, persecution, emotional distress,
                              25       frustration, upset, humiliation, and embarrassment, amongst other negative
                              26       emotions.
                              27                      CAUSE OF ACTION CLAIMED BY PLAINTIFF
                              28                        VIOLATION OF § 1692E OF THE FDCPA

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                               1 24. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               2       as though fully stated herein.
                               3 25. A debt collector violates § 1692e of the FDCPA when it uses any false, deceptive,
                               4       or misleading representation or means in connection with the collection of any
                               5       debt.
                               6 26. Defendant violated § 1692e when it, among other qualifying actions and
                               7       omissions, willfully communicated credit information which it knew to be false.
                               8                                  PRAYER FOR RELIEF
                               9 WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                              10            a) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA),
                              11               against Defendant and for Plaintiff, and,
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                              12            b) Award of statutory damages in the amount of $1000.00 pursuant to 15
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                              13               U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                              14            c) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              15               U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                              16            d) Award to Plaintiff of such other and further relief as may be just and
                              17               proper.
                              18                         TRIAL BY JURY IS DEMANDED.
                              19 27. Pursuant to the Seventh Amendment to the Constitution of the United States of
                              20       America, Plaintiff is entitled to, and demands, a trial by jury.
                              21
                              22 Respectfully submitted,
                              23                                          THE CARDOZA LAW CORPORATION
                              24 DATED: July 29, 2022                            BY: /S/ MICHAEL F. CARDOZA
                              25                                                 MICHAEL F. CARDOZA, ESQ.
                                                                                 LAUREN B. VEGGIAN, ESQ.
                              26                                                 ATTORNEYS FOR PLAINTIFF
                              27                                                 LEIDA VEGA

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                               1           ELECTRONICALLY STORED INFORMATION REQUEST
                               2        This notice is to demand that you preserve all documents, tangible things and
                               3 electronically stored information (“ESI”) potentially relevant to any issues in the
                               4 above-entitled matter. This specifically includes, but is not limited to, all
                               5 information pertaining to the above matter, including specifically all recordings of
                               6 any telephone communication between your company and Plaintiff.
                               7        As used in this request, “you” and “your” or “your client” refers to your
                               8 organizations, and its predecessors, successors in interest, assignees, parents,
                               9 subsidiaries, divisions or affiliates, and their respective officers, directors,
                              10 employees, servants, agents, attorneys, and accountants.
                              11        Much of the information subject to disclosure or responsive to discovery is
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                              12 stored on your client’s current and former computer systems and other media and
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                              13 devices (such as: personal digital assistants, voice-messaging systems, online
                              14 repositories and cell phones).
                              15        Electronically stored information (“ESI”) should be afforded the broadest
                              16 possible definition and includes (for example and not as an exclusive list)
                              17 potentially relevant information whether electronically, magnetically or optically
                              18 stored.
                              19        This preservation obligation extends beyond ESI in yours or your client’s
                              20 care, possession or custody and includes ESI in the custody of others that is subject
                              21 to your client’s direction or control. You must notify any current or former agent,
                              22 attorney, employee, custodian or contractor in possession of potentially relevant ESI
                              23 to preserve such ESI to the full extent of your client’s obligation to do so, and you
                              24 must try to secure their compliance.
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                                   ELECTRONICALLY STORED INFORMATION REQUEST
